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                 THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

THE UNITED STATES OF AMERICA ex rel. )
LA-WANDA M. DAVIS, TRAMECIER J.      )
DONALD, and MEGAN DINKINS,           )
                                     )
                  Plaintiffs,        )
                                     )
       v.                            )   Civil Action No.
                                     )
SOUTHERN SNF MANAGEMENT, INC.,       )   FILED IN CAMERA AND UNDER
REHAB SERVICES IN MOTION, LLC,       )   SEAL IN ACCORDANCE WITH THE
EASTERN SHORE REHABILITATION &       )   FALSE CLAIMS ACT, 31 U.S.C. §
HEALTH CENTER, SE HEALTHCARE,        )   3730(b)(2)
INC., ARBOR TRAIL REHABILITATION & )
SKILLED NURSING CENTER, TERRACES )       DO NOT PLACE IN PRESS BOX
OF LAKE WORTH REHABILITATION &       )
NURSING CENTER, SOUTHERN OAKS        )   JURY TRIAL DEMANDED
REHABILITATION & NURSING CENTER, )
SHORE ACRES REHABILITATION &         )
HEALTH CENTER, WOODBRIDGE            )
REHABILITATION & HEALTH CENTER,      )
PARKLANDS REHABILITATION &           )
NURSING CENTER, PALMETTO             )
REHABILITATION & HEALTH CENTER,      )
PALMS REHABILITATION & HEALTH        )
CENTER, WILLISTON REHABILITATION )
& NURSING CENTER, NORTH CAMPUS       )
REHABILITATION & HEALTH CENTER,      )
NORTH LAKE REHABILITATION &          )
HEALTH CENTER, MADISON POINTE        )
REHABILITATION & HEALTH CENTER,      )
GULF SHORE REHABILITATION &          )
NURSING CENTER, EXCEL                )
REHABILITATION & HEALTH CENTER,      )
ADVANCED REHABILITATION &            )
HEALTH CENTER, BAYSIDE               )
REHABILITATION & HEALTH CENTER       )
and COURTYARD GARDENS                )
REHABILITATION CENTER,               )
                                     )
                  Defendants.        )

                               COMPLAINT
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       1.      Plaintiff Relators La-Wanda Davis, Tramecier Donald and Megan Dinkins

(“Relators”) bring this False Claims Act (“FCA”) action against Southern SNF Management,

Inc. (“Southern SNF”), Rehab Services In Motion, LLC (“Dynamic Rehab”), Eastern Shore

Rehabilitation & Health Center (“Eastern Shore” or the “Center”), SE Healthcare Inc., (“SE

Healthcare”), Arbor Trail Rehabilitation & Skilled Nursing Center, Terraces Of Lake Worth

Rehabilitation & Nursing Center, Southern Oaks Rehabilitation & Nursing Center, Shore Acres

Rehabilitation & Health Center, Woodbridge Rehabilitation & Health Center, Parklands

Rehabilitation & Nursing Center, Palmetto Rehabilitation & Health Center, Palms Rehabilitation

& Health Center, Williston Rehabilitation & Nursing Center, North Campus Rehabilitation &

Health Center, North Lake Rehabilitation & Health Center, Madison Pointe Rehabilitation &

Health Center, Gulf Shore Rehabilitation & Nursing Center, Excel Rehabilitation & Health

Center, Advanced Rehabilitation & Health Center, Bayside Rehabilitation & Health Center and

Courtyard Gardens Rehabilitation Center (collectively, “Defendants”) to recover many

thousands, and more likely millions, of dollars that Defendants have caused the federal health

care programs, including Medicare and TRICARE, to pay for skilled rehabilitation therapy

services that were not covered by the skilled nursing facility benefit, that were not medically

reasonable and necessary, that were not beneficial, and that in multiple instances resulted in

physical harm to the patient or even death.

       2.      Medicare Part A pays skilled nursing facilities a daily rate to provide skilled

nursing and skilled rehabilitation therapy services to qualifying Medicare patients

(“beneficiaries” or “patients”). The daily rate that Medicare pays a nursing facility depends

heavily on the rehabilitation needs of the beneficiaries. The highest daily rate that Medicare will

pay a nursing facility is reserved for those beneficiaries that require “Ultra High” levels of




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skilled rehabilitation therapy, or a minimum of 720 minutes per week of skilled therapy from at

least two therapy disciplines (i.e., physical, occupational, or speech). The Ultra High therapy

level is intended for the most clinically complex patients who require skilled rehabilitative

therapy well beyond the average amount of service time. TRICARE pays nursing facilities using

the same system as Medicare.

       3.      Since the beginning of 2012, and continuing to the present, the Defendants have

been engaged in a systemic scheme throughout the Southern SNF chain of skilled nursing

facilities to fraudulently maximize the number of days billed to Medicare Part A and TRICARE

at the Ultra High level. Specifically, Defendants have instituted and executed a companywide

policy of assigning Medicare Part A and TRICARE patients to an Ultra High level of skilled

therapy regardless of whether the type, the frequency or the duration of the therapy assigned to

these patients bears any relationship to the patients’ individual needs or actual diagnoses.

Execution of this unlawful policy has included Defendants’ 1) utilization and preparation of

patient care plans that are not related to the beneficiaries’ individual needs and actual diagnoses,

2) administration of therapies that offer and provide no benefit and are of excessive duration and

frequency, and 3) infliction of harm to the patients. This scheme has been immensely successful.

By way of example, during the fourteen month period running from January 1, 2012 through

March 8, 2013, roughly two-thirds of Eastern Shore’s Medicare Part A patient days were billed

at the Ultra High level. Ultimately, through this scheme, the Defendants have fraudulently

inflated their claims for payment submitted to Medicare and TRICARE and thereby wrongfully

appropriated for themselves federal taxpayer funds to which they are not legally entitled.

       4.      Because Defendants knowingly presented and caused to be presented false claims

to the Medicare and TRICARE programs for non-beneficial and, at times, harmful therapy




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services, and used false records and statements to support those false claims, the Relators bring

this action to recover treble damages and civil penalties under the FCA, 31 U.S.C. §§ 3729, et

seq.

                               I. JURISDICTION AND VENUE

        5.      This Court has jurisdiction under 31 U.S.C. § 3730 and 28 U.S.C. §§ 1331 and

1345. The Court may exercise personal jurisdiction over Defendants because one of the

Defendants resides and/or transacts business in this District or committed the proscribed acts in

this District. Venue lies in this District pursuant to 31 U.S.C. § 3732(a), in that many of the acts

complained of took place in this District and Eastern Shore Rehabilitation & Health Center is

located in this District.

                                          II. PARTIES

        6.      The United States of America is a Plaintiff to this action. The United States brings

this action on behalf of (a) the Department of Health and Human Services (“HHS”) and the

Centers for Medicare & Medicaid Services (“CMS”), which administers the Medicare and

Medicaid programs, and (b) the Department of Defense, including its component, TRICARE.

        7.      Relator La-Wanda M. Davis, a resident of Alabama, received her Master’s degree

in Speech-Language Pathology from Tennessee State University and her undergraduate degree

from the University of Southern Mississippi. She holds a license to practice in Alabama, Florida

and Georgia as well as a national Certificate of Clinical Competency from The American Speech

and Hearing Association. Ms. Davis has fourteen years of work experience practicing as a

speech-language therapist, seven of which have been at skilled nursing facilities. Ms. Davis

joined Mercy Medical (the predecessor to Eastern Shore, as described herein) as a speech-

language therapist on or about June 30, 2011. She was terminated on or about February 20, 2013




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in retaliation for voicing concerns about unlawful practices taking place at Eastern Shore that are

alleged herein.

       8.         Relator Tramecier J. Donald, a resident of Daphne, Alabama, received an

Associate’s degree in science as an occupational therapy assistant at Wallace State Community

College in Hanceville, Alabama. She was subsequently awarded a Bachelor’s of Science degree

in business management from Huntington College in Montgomery, Alabama. Ms. Donald began

her employment at Mercy Medical on or about March 15, 2011 as a Certified Occupational

Therapy Assistant and remained employed at the facility after it was acquired by SE Healthcare

in late 2011 and later renamed Eastern Shore. She is still employed at Eastern Shore. Ms. Donald

is also licensed as an assisted living/specialty care administrator.

       9.         Relator Megan Dinkins, a resident of Mobile, Alabama, received her Bachelor’s

degree in speech and hearing therapy sciences from the University of Southern Alabama and was

awarded a Master’s degree in occupational therapy from the same institution. Her first job post-

graduation was with Eastern Shore, where she began employment as an occupational therapist on

or about January 29, 2012. Ms. Dinkins left the employ of Eastern Shore on or about April 5,

2013. She is currently employed at Restore Therapy Services located in Mobile, Alabama.

       10.        Defendant Southern SNF Management, Inc. is a privately held health care

management company with its main offices at 2870 Stirling Road, Ste. 101a, Hollywood,

Florida. It was incorporated in Florida in 2007. Southern SNF operates a chain of skilled nursing

facilities, including Eastern Shore, located in Florida and Alabama. These facilities include the

following, each of which is named as a defendant herein:

       a.         Advanced Rehabilitation & Health Center – 401 Fairwood Avenue, Clearwater,
                  FL 33759




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     b.    Arbor Trail Rehabilitation & Skilled Nursing Center – 611 East Turner Camp
           Road, Inverness, FL 34453

     c.    Bayside Rehabilitation & Health Center – 811 Jackson Street N, St. Petersburg,
           FL, 33705

     d.    Courtyard Gardens Rehabilitation Center – 17781 Thelma Avenue, Jupiter, FL
           33458

     e.    Eastern Shore Rehabilitation & Health Center – 101 Villa Drive, Daphne, AL
           36526

     f.    Excel Rehabilitation & Health Center – 2811 Campus Hill Drive, Tampa, FL
           33612

     g.    Gulf Shore Rehabilitation & Nursing Center – 6767 86th Avenue, Pinellas Park,
           FL 33782

     h.    Madison Pointe Rehabilitation & Health Center – 6020 Indiana Avenue, New Port
           Richey, FL 34653

     i.    North Campus Rehabilitation & Health Center – 700 North Palmetto Street,
           Leesburg, FL 34748

     j.    North Lake Rehabilitation & Health Center – 750 Bayberry Drive, West Palm
           Beach, FL 33403

     k.    Palmetto Rehabilitation & Health Center – 6750 W 22nd Court, Hialeah, FL
           33016

     l.    Palms Rehabilitation & Health Center – 3370 NW 47th Terrace, Lauderdale
           Lakes, FL 33319

     m.    Parklands Rehabilitation & Health Center – 1000 SW 16th Avenue, Gainesville,
           FL 32601

     n.    Shore Acres Rehabilitation & Health Center – 4500 Indianapolis Street NE, St.
           Petersburg, FL 33703

     o.    Southern Oaks Rehabilitation & Nursing Center – 600 West Gregory Street,
           Pensacola, FL 32502

     p.    Terraces of Lake Worth Rehabilitation & Nursing Center – 1711 6th Avenue
           South, Lake Worth, FL 33460




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       q.      Williston Rehabilitation & Nursing Center – 300 NW 1st Avenue, Williston, FL
               32696

       r.      Woodbridge Rehabilitation & Health Center – 8720 Jackson Springs Road,
               Tampa, FL 33615

Throughout the relevant time period, each of these facilities provided skilled therapy to Medicare

Part A beneficiaries and continues to do so today. Skilled therapy operations have been managed

by Dynamic Rehab at each of these facilities at all relevant times.

       11.     Defendant Eastern Shore Rehabilitation & Health Center is a not for profit skilled

nursing and rehabilitation center located at 101 Villa Drive, Daphne, Alabama, where it provides

services to Medicare, TRICARE, private pay and Medicaid patients.

       12.     Defendant Rehab Services In Motion, LLC, which does business under the name

Dynamic Rehab, provides rehabilitation services, including skilled physical, occupational and

speech-language therapies, to Southern SNF’s facilities. According to Dun & Bradstreet, its

headquarters are located at 368 New Hempstead Road, New City, New York. It was incorporated

in 2006 and is privately held. According to Southern SNF’s own documents, Dynamic Rehab

and Southern SNF share office space in Hollywood, Florida.

       13.     SE Healthcare, Inc. (“SE Healthcare”) is a not for profit corporation incorporated

in Alabama in September 2011. In or around November 2011, SE Healthcare acquired Mercy

Medical hospital located in Daphne, Alabama for $9.4 million.

                               III. THE FALSE CLAIMS ACT

       14.     The FCA provides, in pertinent part, that any person who:

       (A)     knowingly presents, or causes to be presented, a false or fraudulent claim
               for payment or approval; [or]

       (B)     knowingly makes, uses, or causes to be made or used, a false record or
               statement material to a false or fraudulent claim…
                                                ***



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        is liable to the United States Government [for statutory damages and such
        penalties as are allowed by law].

31 U.S.C. § 3729(a)(1)-(2) (2006), as amended by 31 U.S.C. § 3729(a)(1)(A)-(B) (2010).

        15.    The FCA further provides that “knowing” and “knowingly”

        (A)    mean that a person, with respect to information-

               (i)     has actual knowledge of the information;
               (ii)    acts in deliberate ignorance of the truth or falsity of the
                       information; or
               (iii)   acts in reckless disregard of the truth or falsity of the information;
                       and

        (B)    requires no proof of specific intent to defraud[.]

31 U.S.C. § 3729(b) (2006), as amended by 31 U.S.C. § 3729(b)(1) (2010).

        16.    Section 3729(a)(1) of the FCA provides that a person is liable to the United States

for three times the amount of damages which the Government sustains because of the act of that

person, plus a civil penalty of $5,000 to $10,000 per violation. Pursuant to the Federal Civil

Penalties Inflation Adjustment Act of 1990, as amended by the Debt Collection Improvement

Act of 1996, 28 U.S.C. § 2461 (notes), and 64 Fed. Reg. 47099, 47103 (1999), the FCA civil

penalties were adjusted to $5,500 to $11,000 for violations occurring on or after September 29,

1999.

                              IV. THE MEDICARE PROGRAM

A.      Medicare Coverage Of Skilled Nursing Facility Rehabilitation Therapy

        17.    Congress established the Medicare Program in 1965 to provide health insurance

coverage for people age 65 or older and for people with certain disabilities or afflictions. See 42

U.S.C. §§ 426 & 426A.

        18.    The Medicare program is divided into four “parts” that cover different services.




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Medicare Part A generally covers inpatient hospital services, home health and hospice care, and

skilled nursing and rehabilitation care.

       19.     Subject to certain conditions, Medicare Part A covers up to 100 days of skilled

nursing and rehabilitation care for a benefit period (i.e., spell of illness) following a qualifying

inpatient hospital stay of at least three consecutive days. 42 U.S.C. § 1395d(a)(2)(A); 42 C.F.R.

§409.61(b)-(c). After the first 20 days, however, a co-payment of twenty percent (20%) is

required of the patient.

       20.     The conditions that Medicare imposes on its Part A skilled nursing facility

(“SNF”) benefit include: (1) that the patient requires skilled nursing care or skilled rehabilitation

services (or both) on a daily basis, (2) that the daily skilled services must be services that, as a

practical matter, can only be provided in a skilled nursing facility on an inpatient basis, and (3)

that the services are provided to address a condition for which the patient received treatment

during a qualifying hospital stay or that arose while the patient was receiving care in a skilled

nursing facility (for a condition treated during the hospital stay). 42 U.S.C. § 1395f(a)(2)(B); 42

C.F.R. § 409.31(b).

       21.     Medicare requires that a physician or certain other practitioners certify that these

conditions are met at the time of a patient’s admission to the nursing facility and to re-certify to

the patient’s continued need for skilled rehabilitation therapy services at regular intervals

thereafter. See 42 U.S.C. § 1395f(a)(2)(B); Medicare Gen. Info., Eligibility, & Entitlement

Manual, ch. 4, § 40.3.

       22.     To be considered a skilled service, it must be “so inherently complex that it can be

safely and effectively performed only by, or under the supervision of, professional or technical

personnel,” 42 C.F.R. § 409.32(a), such as physical therapists, occupational therapists, or speech




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pathologists. See 42 C.F.R. § 409.31(a).

       23.     Skilled rehabilitation therapy generally does not include personal care services,

such as the general supervision of exercises that have already been taught to a patient or the

performance of repetitious exercises (e.g., exercises to improve gait, maintain strength or

endurance, or assistive walking). See 42 C.F.R. § 409.33(d). “Many skilled nursing facility

inpatients do not require skilled physical therapy services but do require services, which are

routine in nature. Those services can be performed by supportive personnel; e.g., aides or nursing

personnel ....” Medicare Benefit Policy Manual, ch. 8, § 30.4.1.1.

       24.     Medicare Part A will only cover those services that are reasonable and necessary.

See 42 U.S.C. § 1395y(a)(1)(A); see also 42 U.S.C. § 1320c-5(a)(1) (providers must assure that

they provide services economically and only when, and to the extent, medically necessary); 42

U.S.C. § 1320c-5(a)(2) (services provided must be of a quality which meets professionally

recognized standards of health care).

       25.     In the context of skilled rehabilitation therapy, this means that the services

furnished: 1) must be consistent with the nature and severity of the patient’s individual illness,

injury, or particular medical needs; 2) must be consistent with accepted standards of medical

practice; and 3) must be reasonable in terms of duration and quantity. See Medicare Benefit

Policy Manual, ch. 8, § 30.

       26.     In order to assess the reasonableness and necessity of those services and whether

reimbursement is appropriate, Medicare requires proper and complete documentation of the

services rendered to beneficiaries. In particular, the Medicare statute provides that: “No payment

shall be made to any provider of services or other person under this part unless there has been

furnished such information as may be necessary in order to determine the amounts due such




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provider or other person under this part for the period with respect to which the amounts are

being paid or for any prior period.” 42 U.S.C. § 1395l(e).

       27.     To be covered by Medicare, services must not only be medically necessary, they

must also be provided in the most economical manner. This economical manner requirement is

set forth in multiple federal statutes and CMS regulations prescribing the responsibilities and

obligations of health care practitioners, providers of health care services (including hospitals),

and contractors who review claims for payment.

       28.     Practitioners and providers are obligated to assure that the services:

       (1)     will be provided economically and only when, and to the extent, medically
               necessary;

       (2)     will be of a quality which meets professionally recognized standards of
               health care; and

       (3)     will be supported by evidence of medical necessity and quality in such
               form and fashion and at such time as may reasonably be required by a
               reviewing quality improvement organization in the exercise of its duties
               and responsibilities.

42 U.S.C. § 1320c-5(a).

B.     Medicare Payment For Skilled Nursing Facility Rehabilitation Therapy

       29.     Under its prospective payment system (“PPS”), Medicare pays a nursing facility a

pre-determined daily rate for each day of skilled nursing and rehabilitation services it provides to

a patient. See 63 Fed. Reg. 26,252, 26,259-60 (May 12, 1998). The amount paid depends on the

resource needs of the residents. Residents with heavy care needs require more staff resources and

payment levels are thus higher than for those residents with fewer needs.

       30.     The daily PPS rate that Medicare pays a nursing facility depends, in large part, on

the Resource Utilization Group (“RUG”) to which a patient is assigned. Each distinct RUG is

intended to reflect the anticipated costs associated with providing nursing and rehabilitation



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services to beneficiaries with similar characteristics or resource needs. Since October 1, 2010,

Medicare has utilized the RUG-IV classification system pursuant to which there are 66 RUG

levels.

          31.   The Minimum Data Set (“MDS”) is a document periodically completed by the

nursing facility for each patient and includes detailed assessments of the patients’ clinical

condition, functional status and use of services. The MDS is the document Medicare uses to

determine a patient’s level in the RUG hierarchy. Residents with more specialized nursing

requirements, those receiving licensed therapies or those with greater need for daily activities

assistance according to their MDS are assigned to a higher level of the RUG hierarchy.

          32.   There are generally five rehabilitation RUG levels for those beneficiaries that

require rehabilitation therapy: Rehab Ultra High (known as “RU”), Rehab Very High (“RV”),

Rehab High (“RH”), Rehab Medium (“RM”), and Rehab Low (“RL”).

          33.   The rehabilitation RUG level to which a patient is assigned depends upon the

number of skilled therapy minutes a patient received, the number of days per week the therapy

was received and the number of therapy disciplines the patient received during a seven-day

assessment period (known as the “look back period”). The chart below reflects the requirements

for the five rehabilitation RUG levels under the RUG-IV classification system.




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    Rehabilitation
                                           Requirements to Attain RUG Level
     RUG Level
                          minimum 720 minutes per week total therapy combined from at least
  RU = Ultra high         two therapy disciplines; one therapy discipline must be provided at least
                          5 days per week
                          minimum 500 minutes per week total therapy; one therapy discipline
  RV = Very high
                          must be provided at least 5 days per week
                          minimum 325 minutes per week total therapy; one therapy discipline
  RH = High
                          must be provided at least 5 days per week
                          minimum 150 minutes per week total therapy; must be provided at least
  RM = Medium
                          5 days per week but can be any mix of therapy disciplines
                          minimum 45 minutes per week total therapy; must be provided at least 3
  RL = Low
                          days per week but can be any mix of therapy disciplines

63 Fed. Reg. at 26,262.

        34.     Medicare pays the most for those beneficiaries that fall into the Ultra High RUG

level. The Ultra High RUG level (RU) is “intended to apply only to the most complex cases

requiring rehabilitative therapy well above the average amount of service time.” 63 Fed. Reg.

26,252, 26,258 (May 12, 1998).

        35.     In addition to reflecting a patient’s rehabilitation therapy needs, each RUG also

reflects the patient’s ability to perform certain activities of daily living (“ADL”), like eating,

toileting, bed mobility and transfers (e.g., from a bed to a chair). A patient’s ADL score (ranging

from A to C) reflects his or her dependency level when performing an ADL. A very dependent

patient who cannot perform any of the ADLs without assistance would generally receive an ADL

score of “C,” while a patient who could perform the ADLs without assistance would receive an

ADL score of “A”.

        36.     To demonstrate the significant impact that the RUG level, and in particular the

rehabilitation RUG level, has on the Medicare daily rate, provided below is a summary chart

reflecting adjusted rates that Medicare pays nursing facilities located within rural Alabama (such

as Eastern Shore) for rehabilitation beneficiaries. These rates went into effect starting October 1,



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2011 and remain in effect presently. Medicare adjusts base rates annually and based on locality.

See 42 U.S.C. § 1395yy(e)(4)(E)(ii)(IV).

   DAILY RUG RATES: FEDERAL RATES FOR FY 2012 FOR RURAL ALABAMA
                         Activities Daily Level
          RUG Level          A                     B        C
  RU (ultra high rehab)   $ 402.89              $ 473.89 $ 473.89
  RV (very high rehab)    $ 349.77              $ 351.01 $ 400.84
  RH (high rehab)         $ 277.40              $ 312.28 $ 344.68
  RM (medium rehab)       $ 234.71              $ 282.04 $ 299.49
  RL (low rehab)          $ 187.94              $ 286.35

C.      Statements And Claims To Medicare For Payment Of Skilled Nursing Facility
        Rehabilitation Therapy

        37.    Medicare requires nursing facilities periodically to assess each patient’s clinical

condition, functional status, and expected and actual use of services, and to report the results of

those assessments on the MDS.

        38.    In general, a nursing facility must assess each patient and complete the MDS form

on the 5th, 14th, 30th, 60th, and 90th day of the patient’s Medicare Part A stay in the facility.

The date on which the facility performs the assessment is known as the Assessment Reference

Date. A nursing facility may generally perform the skilled rehabilitative therapy assessment

within a window of time before this date or, under certain circumstances, up to five days after.

When a nursing facility performs its assessment (except for the first assessment), it looks at the

patient for the seven days preceding the Assessment Reference Date. As discussed above, this

seven day assessment period is referred to as the “look-back period.”

        39.    The MDS collects clinical information on over a dozen criteria, including hearing,

speech, and vision; cognitive patterns; health conditions; and nutritional and dental status.

Section O of the MDS (“Special Treatments, Procedures and Programs”) collects information on

how much and what kind of skilled rehabilitation therapy the facility provided to a patient during



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the look-back period. In particular, Section O shows how many days and minutes of therapy a

nursing facility provided to a patient in each therapy discipline (i.e., physical therapy,

occupational therapy, and speech-language pathology and audiology services).

        40.     In most instances, the RUG level determines Medicare payment prospectively for

a defined period of time. See 63 Fed. Reg. at 26,267. 1 For example, if a patient is assessed on

day 14 of his stay and received 720 minutes of therapy during days 7 through 14 of the stay, then

the facility will be paid for the patient at the Ultra High RUG level (RU) for days 15 through 30

of the patient’s stay.

        41.     The software CMS provides to the healthcare provider to encode and transmit the

MDS assessment data (which goes directly to CMS, see 42 C.F.R. § 483.20(f)(3)) calculates the

RUG-IV level based on the MDS data supplied. CMS then reviews and validates the assigned

RUG-IV level.

        42.     Completion of the MDS is a prerequisite to payment under Medicare. See 63 Fed.

Reg. at 26,265. Further, skilled nursing facilities must use the RUG-IV level that the CMS

software has calculated, and that CMS has then validated, when bills are submitted for payment.

The MDS itself requires an express certification on behalf of the provider that states:

        I certify that the accompanying information accurately reflects resident
        assessment information for this resident and that I collected or coordinated
        collection of this information on the dates specified. To the best of my
        knowledge, this information was collected in accordance with applicable
        Medicare and Medicaid requirements. I understand that this information is used as
        a basis for ensuring that residents receive appropriate and quality care, and as a
        basis for payment from federal funds. I further understand that payment of such
        federal funds and continued participation in the government-funded health care
        programs is conditioned on the accuracy and truthfulness of this information, and
        that I may be personally subject to or may subject my organization to substantial
        criminal, civil, and/or administrative penalties for submitting false information. I

1
  Payment for days one through fourteen is based on the number of therapy minutes provided through the
five-day assessment, as well as an estimate of the number of minutes to be provided through day fourteen.
See 63 Fed. Reg. at 26,265-67; 64 Fed. Reg. at 41,662.


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          also certify that I am authorized to submit this information by this facility on its
          behalf.

MDS – Ver. 3.0 for Nursing Home Resident Assessment and Care Screening.

          43.    A patient’s RUG information is incorporated into the Health Insurance

Prospective Payment System (HIPPS) code, which Medicare uses to determine the payment

amount owed to the nursing facility. The HIPPS code must be included in Form CMS-1450,

which nursing facilities submit electronically to Medicare for payment. Medicare Claims

Processing Manual, ch. 25, § 75.5. Medicare payment will depend largely on the HIPPS code the

nursing facility submitted as part of Form CMS-1450. See 63 Fed. Reg. at 26,267; Medicare

Claims Processing Manual, ch. 25 § 75.5.

          44.    Skilled nursing facilities submit Form CMS-1450 electronically under Medicare

Part A to Medicare payment processors known as Medicare Administrative Contractors

(“MACs”), formerly known as Fiscal Intermediaries (“FIs”). MACs process and pay Medicare

claims.

                                            V. TRICARE

          45.    TRICARE (formerly CHAMPUS) is a federally funded medical benefit program

established by statute. See 10 U.S.C. §§ 1071-1110. TRICARE provides health care benefits to

eligible beneficiaries, who include, among others, active duty service members, retired service

members, and their dependents.

          46.    TRICARE covers the same skilled nursing services as Medicare. The regulatory

authority implementing the TRICARE program provides reimbursement to health care providers

applying the same reimbursement scheme and coding parameters that the Medicare program

applies. See 10 U.S.C. §§1079(j)(2) (institutional providers).




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       47.     TRICARE, like Medicare, pays only for “medically necessary services and

supplies required in the diagnosis and treatment of illness or injury.” 32 C.F.R. § 199.4(a)(1)(i).

       48.     TRICARE follows Medicare’s PPS and RUG methodology and assessment

schedule, and beneficiaries are assessed using the same MDS form used by Medicare. See

TRICARE Reimbursement Manual 6010.58M, ch. 8, § 2, 4.3.5-4.3.7, 4.4.3.

                                         VI. MEDICAID

       49.     Medicaid is a government health insurance program for the poor (the “Medicaid

Program”) that is jointly funded by the federal and state governments. See 42 U.S.C. §§ 1396, et

seq. Each state administers its own Medicaid program. However, each state program is also

governed by federal statutes, regulations and guidelines. The federal portion of each state’s

Medicaid payment – the Federal Medical Assistance Percentage – is based on that state’s per

capita income compared to the national average. During the relevant time period, the Federal

Medical Assistance Percentage has been between approximately 50% and 80%.

                                   VII. FACTUAL ALLEGATIONS

A.     Background Regarding The Defendants

       50.     In or around November 2011, SE Healthcare acquired Mercy Medical, a skilled

nursing facility in Daphne, Alabama. According to a news report at the time, the facility was to

be managed by Southern SNF Management, Inc. In or around January of 2012, Southern SNF

and/or SE Healthcare renamed the facility Eastern Shore Rehabilitation & Health Center.

       51.     Eastern Shore has approximately 106 beds. It accepts Medicare, Medicaid,

TRICARE and private pay patients. Approximately 60 of these beds are occupied by long term

care patients who are generally covered by Medicaid. When members of this subset of patients

are prescribed skilled therapy, roughly 85% have Medicare Part B coverage. Generally, five or




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fewer Medicaid patients are receiving skilled therapy at any given time. The remaining patients,

generally 35 to 46, are skilled care patients, most of whom are covered by Medicare Part A but

sometimes by TRICARE. Roughly 90% of Eastern Shore’s patients come from local hospitals.

       52.    Eastern Shore occupies three floors of its four floor building. Mobile Bay Rehab

Hospital (“Mobile Bay”), which provides short term rehabilitative therapy services, occupies the

remaining floor. Relators believe that SE Healthcare acquired Mobile Bay at or around the same

time it acquired Mercy Medical. In or around late 2012 or early 2013, it contracted with

Dynamic Rehab to manage Mobile Bay’s operations.

       53.    Throughout the relevant time period, Kelley Urban has held the position of

administrator of Eastern Shore and Mobile Bay. She previously held the position of administrator

at Mercy Medical. Also throughout the relevant time period, until approximately the first half of

March 2013, Denice Stabler (referred to herein as “Stabler” or the “Rehab Manager”) was

employed by Dynamic Rehab and held the position of Rehab Manager at Eastern Shore. As such,

she had primary responsibility within the facility for preparing plans of care for the skilled

therapy patients and overseeing the provision of skilled therapy. Stabler is a licensed physical

therapy assistant. Stabler was terminated from her employment on or about February 26, 2013

and has been replaced by Tricia Dubose. The fraudulent activities have continued since Stabler’s

departure. Sandy Faronda has been the Regional Director of Dynamic Rehab at all relevant times

and as such is responsible for the provision of skilled therapy at numerous Southern SNF

facilities. Right after Mercy Medical was acquired and renamed in late 2011 and Southern SNF

had assumed responsibility for managing it, Faronda began to visit Eastern Shore on a regular

basis, generally weekly, to make certain that skilled therapy was being prescribed and




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administered in accordance with Dynamic Rehab requirements. After several months of coming

weekly, her visits became monthly.

        54.    Throughout the relevant time period, Michael Bokor has been the Chief Executive

Officer of Southern SNF. During Relator Davis’s tenure at Eastern Shore, Bokor visited Eastern

Shore approximately five times. James Kessler is the Chief Operating Officer of Southern SNF.

Since the beginning of its operations in or around January 2012, Kessler has visited the facility

on a regular basis. For the first couple of months, he generally visited weekly. Thereafter, he

began to visit the Center one or two times per calendar quarter. The relationship between

Southern SNF and Dynamic Rehab as well as some other entities, such as Platinum, Apex

Healthcare and Global, was at times unclear. Once when asked whether the Eastern Shore skilled

therapy personnel worked for Southern SNF or Dynamic Rehab, Leslie Crenshaw, the head of

human resources replied, “Honey, your guess is as good as mine[.]”

B.      The Policy At Eastern Shore And The Entire Southern SNF Chain Of Skilled
        Nursing Facilities Is To Assign Medicare Part A Patients To An Ultra High Level Of
        Skilled Therapy Regardless Of Their Diagnosis, Their Physical Condition Or Their
        Physical Or Cognitive Limitations

        55.    The core of Defendants’ fraud is to assign most, or almost all, Medicare Part A

patients to the Ultra High RUG level of skilled therapy at any cost, regardless of their physical

needs, physical or cognitive condition, or diagnosis. This unlawful policy has manifested itself in

multiple ways throughout Eastern Shore and the entire Southern SNF chain of skilled nursing

facilities.

        56.    The groundwork for Defendants’ Ultra High policy was laid on the first day that

Southern SNF assumed control of Eastern Shore, on or about December 11, 2011. On that day,

COO James Kessler assembled at the facility all skilled therapists (speech, occupational and

physical), all administrative personnel and all supervisory personnel, including Denice Stabler.



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He proceeded to announce to this audience that all Medicare Part A patients have the right to get

skilled therapy. He made it clear that under Southern SNF, there would be no discretion on the

part of the skilled therapists themselves as to what type, frequency or duration of therapy would

be prescribed for a Medicare Part A patient. On or about January 3, 2012, Maribel Vega,

Director of Compliance at Dynamic Rehab, came to the Center and trained the skilled therapists

on how to complete the new forms which they would henceforth be using to record their skilled

therapy sessions with patients.

       57.     An individualized treatment care plan is legally required for both Medicare and

Medicaid nursing home patients pursuant to the Nursing Home Reform Act of 1987. See 42

U.S.C. § 1395i-3. A treatment care plan is a set of short term and long term goals that address

patient impairments to improve a patient’s ability to return to their prior level of function. The

goals must be measurable, clearly related to the impairments identified and specific such that

another similarly trained clinician can follow the plan.

       58.     Denice Stabler had primary responsibility for creating the treatment care plan for

each Medicare Part A patient. Generally, when a new Medicare Part A patient entered the

facility, Stabler would devise a care plan that included a program of skilled therapy that would

place the patient at the Ultra High level of therapy. This usually meant that each new Medicare

Part A patient was assigned all three types of therapy, or else extremely long sessions of physical

and occupational therapies, on a daily basis upon admission, regardless of whether this regimen

was medically indicated or not. Indeed, on or about June 28, 2012, Stabler verbally

acknowledged to Relator Davis and Relator Dinkins that, when a new Medicare Part A patient is

admitted, she seeks to “pre-plan [skilled therapy] minutes from day 1 to day 100 on Ultra-High”

even though she knows little or nothing about the patient. Tellingly, treating therapists were not




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permitted to attend the meetings with patients’ families during which the care plan was

discussed. Sometimes, one of the physical therapists would rewrite goals within the care plan in

order to render them unattainable, thus helping to ensure that continuing the program of therapy

would appear warranted. The physicians responsible for approving these care plans (five

physicians have been responsible for signing-off on the care plans of virtually all patients)

routinely neglected to sign-off on them within 30 days, and often fell behind by many months.

       59.     The pressure to maintain Medicare Part A patients at the Ultra High level

emanated directly from Southern SNF Management. In January 2013, Relator Davis learned that

Stabler was upset because the Center had an insufficient number of skilled therapists. In

response, Relator Davis suggested that Stabler examine the patient list and ramp down some

Medicare Part A patients from the Ultra High therapy level – for instance, patients who had been

at Ultra High for 45 days or more. Stabler reacted by saying that she could not do that because, if

she did not maintain at least 70% of the patient caseload at the Ultra High level, she would “get a

nasty phone call from Sandy [Faronda].”

       60.     The Ultra High level policy also manifested itself when the Defendants submitted

the MDS assessment that was periodically prepared for each Medicare Part A patient. The chart

below provides a sampling of the information provided in Section O of the MDS assessment

forms completed periodically for a representative group of approximately 322 total patients

admitted to Eastern Shore during the 2012 timeframe:




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          ARD                            ST Start      S       OT Start    O        PT Start    P   Total
MRN                  RUG   Assessment
          Date                            Date        Mins       Date     Mins        Date     Mins Mins
21156   2/18/2012     RU     5 day                              2/13/2012 375        2/13/2012 350   725
21156   2/24/2012     RU     14 day                             2/13/2012    385     2/13/2012    340   725
                           Discharge
21156   3/2/2012      RM                                       2/13-3/1/12   290    2/13-3/1/12   315   605
                           Assessment
21157   2/20/2012     RU     5 day                              2/14/2012    350     2/14/2012    370   720
21157   2/26/2012     RV     14 day                             2/14/2012    395     2/14/2012    110   505
21157   3/11/2012     RU     30 day                             2/14/2012    345     2/14/2012    375   720
21157   4/15/2012     RV     60 day                           2/14-4/14/12   235     2/14/2012    275   510
21158   2/20/2012     RU     5 day                              2/14/2012    377     2/24/2012    345   722
                           Discharge
21158   2/22/2012     RV                                      2/14-2/22/12   330   2/14-2/22/12   235   565
                           Assessment
21159   2/20/2012     RU     5 day       2/20/2012       30     2/14/2012    295     2/14/2012    426   751
21159   2/26/2012     RU     14 day      2/20/2012    210       2/14/2012    230     2/14/2012    290   730
                           Discharge
21159   3/1/2012      RU                2/20-3/1/12   205      2/14-3/1/12   250    2/14-3/1/12   309   764
                           Assessment
21160   2/23/2012     RU     5 day                              2/17/2012    355     2/17/2012    365   720
21160   2/29/2012     RU     14 day                             2/17/2012    365     2/17/2012    355   720

Attached hereto as Exhibit 1 is a spreadsheet containing a compilation of information provided in

Section O of the MDS assessment forms for these 322 patients.

        61.        Eastern Shore and Dynamic Rehab engaged in a pattern and practice of

compensating for decreased session minutes for one therapy by increasing session minutes for

another therapy by a comparable amount. Achieving the 720 minute threshold within the MDS

report was the goal regardless of what was appropriate for the patient because the number of

minutes of skilled therapy which took place as reported in the MDS assessment determined the

per diem reimbursement amount for each patient going forward until the next MDS assessment

was submitted to CMS. By way of example, with respect to the four patients identified by the

five digit number below, each time the weekly session minutes for physical therapy or

occupational therapy decreased from the five-day review to the fourteen-day review, the other

therapy would rise by a roughly corresponding amount so that in each instance the patient would

just meet the Ultra High threshold:




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 MRN      Date      RUG    Assessment       Date       OT Mins        Date       PT Mins     Total
21154    2/17/12     RU       5 day          2/11/12      390         2/11/12      335       725
21154    2/24/12     RU      14 day          2/11/12      355         2/11/12      370       725
21154     3/9/12     RV      30 day          2/11/12      305         2/11/12      230       535
21154     4/5/12     RM     Discharge    2/11-4/4/12      235     2/11-4/4/12      250       485
21156    2/18/12     RU       5 day          2/13/12      375         2/13/12      350       725
21156    2/24/12     RU      14 day          2/13/12      385         2/13/12      340       725
21156     3/2/12     RM     Discharge    2/13-3/1/12      290     2/13-3/1/12      315       605
21160    2/23/12     RU       5 day          2/17/12      355         2/17/12      365       720
21160    2/29/12     RU      14 day          2/17/12      365         2/17/12      355       720
21160     3/5/12     RV     Discharge    2/17-3/5/12      310     2/17-3/5/12      290       600
21167     3/2/12     RU       5 day          2/25/12      385         2/25/12      345       730
21167     3/9/12     RU      14 day      2/25-3/9/12      430     2/25-3/9/12      300       730
21167    3/10/12     RU     Discharge    2/25-3/9/12      430     2/25-3/9/12      300       730

        62.      Examination of periodic MDS reports for Medicare Part A patients at Eastern

Shore indicates that in multiple cases the type of skilled therapy – speech, occupational or

physical – which had ostensibly been prescribed to reflect a patient’s particular diagnoses in fact

appears to bear no relationship to their medical diagnoses.

        63.      Every Friday at 1 p.m. there was a Medicare meeting at which the attendees –

including Stabler, Urban, the MDS Coordinator and the Director of Nursing – would discuss

each Medicare Part A patient care plan, the amount of Part A coverage remaining, and their

current RUG level. During these meetings, Stabler routinely would conclude that every patient

needed “about two more weeks” of skilled therapy regardless of the patient’s actual progress.

During these meetings Stabler appeared to know little or nothing about each patient, however.

        64.      Relator Davis once substituted for Stabler at a family care plan meeting. The

purpose of these periodic meetings, which social worker Jill Dzuik scheduled, is to discuss

patients’ progress and discharge plans with their families. However, when Davis explained to the

family this purpose, Dzuik immediately corrected her and told her that “discharge” is not a word

that needed to be used.



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       65.     On more than one occasion, if one of the therapists would not administer

scheduled therapy because it appeared to be excessive, the Rehab Manager would simply

approach another therapist and direct them to administer it. On one occasion Relator Donald

administered 45 minutes of occupational therapy to patient “JS”. He was slated to receive an

additional 180 minutes of physical therapy but Relator Donald recognized that any amount of

therapy beyond the 45 minutes JS had already received that day was not indicated and would be

of no benefit. When she informed Stabler of this, Stabler ignored it and directed a physical

therapist to administer the 180 minutes (three hours) of therapy to capture more minutes.

       66.     Sometimes patients slated for five days of therapy would receive six days in a

given category in order to achieve the Ultra High level.

       67.     At the direction of the Rehab Manager, patients who achieved treatment goals,

and thus should have been discharged, continued receiving occupational therapy until their

Medicare coverage was exhausted. For instance, on or about August 22, 2012, Relator Donald

reported to Stabler that a patient had achieved all his long term and short term goals and had

verbally expressed his desire to be discharged. Stabler responded that rather than be discharged,

she wanted the patient to remain at Eastern Shore “until insurance cuts him.”

       68.     Typically, the Medicare Part A patients that were assigned to stay beyond 20 days

were those that the facility knew had the financial means to pay for their care – for instance,

those with supplemental insurance that would take care of the 20% co-pay. Roughly 80% of the

Medicare Part A patients had this supplemental insurance.

       69.     All or virtually all Medicare Part A dialysis patients were automatically placed in

the Very High category. One exception, patient “H” was on dialysis and placed on Ultra High for




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69 days. Oftentimes H was treated six days per week in order to satisfy the 720 minute weekly

threshold.

       70.     On numerous occasions, Stabler, Urban and/or the admissions director

successfully urged Medicare Managed Care patients (for example, “PD” and “GM”) to switch

their coverage to traditional Medicare Part A so that they could receive “100 days of

uninterrupted coverage.”

       71.     In other instances, Stabler would fraudulently inflate the reported length of a

therapy session in order to remain on track to achieve the 720 minute threshold for purposes of

the periodic MDS assessment. For example, on November 13, 2012, patient “CH” received 15

minutes of physical therapy and no occupational therapy. Accurate entries were made in his

records to reflect this. Three days later, Stabler or someone acting on her behalf altered the

entries for that date to fraudulently state that CH received 65 minutes of physical therapy and 50

minutes of OT.

       72.     Repeatedly, Eastern Shore and Dynamic Rehab would bill a patient conference as

skilled therapy even though the patient was not even present at the meeting. For example, this

happened with respect to patient “MG” on or about November 13, 2012 when 30 minutes of

therapeutic exercises were fraudulently entered into his treatment records by Stabler.

       73.     Stabler would monitor and manage the minutes allotted for therapy each day – if

over 720, she would cut it down – if the 720 threshold had not been satisfied, she would have

another therapist administer therapy to the patient to achieve it.

       74.     When Relator Dinkins interviewed for her position at Eastern Shore with Sandy

Faronda, Faronda asked Dinkins about her familiarity with RUG reimbursement rates. She asked

how creative Dinkins could be in writing patient goals because “we like to keep patients here as




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long as possible.” Faronda also told Dinkins that Dinkins would be expected to devote 100% of

her time to patients – an impossibility given the other responsibilities outside of administering

therapy, such as meetings and paperwork, which therapists must attend to during their workday.

       75.     If the patient was at risk of achieving only a Medium level (RM), Stabler would

fraudulently endeavor to raise it to a Very High (RV). Stabler sent a handwritten note to Relator

Donald on February 8, 2013 through which Stabler sought to pressure Relator Donald into

reporting that she provided therapy for 15 minutes on a Friday so that the number of days

therapy was administered weekly would be bumped up by a day on the MDS assessment form

and an RV level could be achieved: “Meesha, Did you ever get 15 min [with] Walters on Friday

2/7? She was in assessment & has minutes for an RV, but not enough days so she will be an RM

unless you got 15 min to count as a day. D.S.”

       76.     And if a patient was covered by Medicare Part A but became a drain on the

facility’s finances, they were discharged as quickly as possible. This occurred in the case of

patient “WT” who was discharged, even though she was showing improvement in response to

therapy, because her prescription drug regimen had become a financial burden.

       77.     Financial incentives were in place to induce employees to keep RUG levels high.

Stabler handed out gift cards to therapists who administered skilled therapy sessions for the pre-

planned number of minutes. Urban and the other Southern SNF facility administrators regularly

received bonuses based on achieving RUG level goals as reflected in the results of their

facilities’ census reports (discussed herein). These amounts were based upon both the number of

Medicare Part A patients in their facility and the number of patients at the Ultra High level.

       78.     Fraudulent concealment has occurred as well. Therapists were directed not to

indicate on the patients’ charts when the end of the therapy session took place. Instead, it was




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provided directly to Stabler. This was implemented so that if the facility was audited by CMS or

Medicare, it would be more difficult for the auditor to detect that such a suspiciously high

percentage of patients had been assigned to the Ultra High level.

       79.     The Eastern Shore MDS Coordinator, Nicole Speetjens, assigned an ADL

designation to each skilled therapy Medicare Part A patient after interviewing them. These

designations were routinely inflated to become a “B” or “C” rather than an “A” as part of the

facility-wide policy to inflate Medicare Part A reimbursement for skilled therapy.

       80.     The average length of stay for Eastern Shores Medicare Part A skilled

rehabilitation patients is above the national average as well. The national average is roughly 35

days. In contrast, the length of stay for Eastern Shore patients was seldom less than 35 days and

routinely far more.

C.     Eastern Shore’s Approach Towards Skilled Therapy For Its Medicaid And
       Medicare Part B Patients Was Vastly Different Than For Its Medicare Part A
       Patients

       81.     Unlike Medicare Part A patients, Medicaid patients at Eastern Shore receiving

skilled therapy were viewed as unprofitable “charity cases” and released from the Center as

quickly as possible because under the reimbursement methodology for Medicaid patients the per

diem reimbursement amount stays constant regardless of whether and how much skilled therapy

a patient is receiving. For example, one Medicaid patient entered the Center suffering from brain

damage caused by a subdural hematoma. He required skilled rehabilitative therapy. He was

released from Eastern Shore as quickly as possible.

       82.     Numbers tell the same story. Although Medicaid patients typically comprise

approximately 60% of the patient population at Eastern Shore, only a small percentage receive

skilled therapy.




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        83.     Patient “CM” had suffered a severe stroke that adversely impacted her movement

and her speech. However, since she was a Medicaid patient, Stabler and Urban directed that she

only be seen three days per week and never over 180 minutes per week.

        84.     Under Dynamic Rehab’s policy, Medicare Part B patients are never assigned a

five-day therapy regimen. According to Faronda, the Medicare regulatory framework is such that

it is not in the facilities’ financial interest to do so.

        85.     On or about September 27, 2012, Faronda told Relator Davis that in light of

Medicare Part B regulations going into effect as of October 1, 2012, Part B patients should

henceforth be discharged before the federal cap on skilled therapy costs was reached. This is

because under the new regulations, once the cap was reached, the skilled nursing facility would

be responsible for proving to CMS via documentation that the patient’s skilled therapy was still

medically indicated. Due to this new requirement, Faronda instructed Relator Davis to discharge

Medicare Part B patient “EJ”.

D.      Defendants Successfully Achieved Fraudulently Inflated Levels Of Ultra High
        Therapy At Eastern Shore And Chain-Wide

        86.     Eastern Shore issued periodic “PPS Efficiency Reports.” These reports provide

the name of each Medicare Part A patient and the number of days each patient had been assigned

to the Ultra High RUG level. An Eastern Shore Efficiency Report shows that from January 1,

2012 through March 8, 2013, 6,897 patient days ―over 65% of the total 10,514 patient days the

Center billed to Medicare Part A during that fourteen-month timespan― were billed at the Ultra

High level. Such an extraordinarily high percentage of Ultra High patient days defies explanation

unless a fraudulent effort is being undertaken at Eastern Shore to inflate patient RUG levels.

        87.     Southern SNF prepared monthly “Census” reports that consolidated into one

document the census results that each SNF within its chain had submitted. For each SNF, these



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         reports identified the number of patient days billed at each of the RUG/ADL levels. Tellingly,

         the March 2012 report, the relevant portion of which is set forth below, reveals that across all its

         SNF facilities, not just Eastern Shore, the majority of Southern SNF patients were classified as

         Ultra High. In fact, the March 2012 percentage of Ultra High patient days billed was even higher

         than Eastern Shore’s at most of the other Southern SNF facilities. Chain-wide, 79% – roughly 4

         out of 5 patient days – had been billed at the Ultra High RUG level while virtually none had been

         billed at the High, Medium or Low levels. A percentage of 80% at the Ultra High level cannot be

         reconciled with the fact that the Ultra High level is applicable only to “the most complex case

         requiring rehabilitative therapy well above the average amount of service time” unless the

         Defendants are engaged in fraudulently inflating RUG levels.
                                                                               Madison Pointe




                                                                                                                                                                         Southern Oaks
                                                                                                North Campus




                                                                                                                                                                                                                Woodbridge
                                                                                                                                                           Shore Acres
                                                                                                               North Lake
                                   Courtyards




                                                                  Gulf Shore
     Advanced




                                                                                                                                               Parklands




                                                                                                                                                                                                    Williston
                                                                                                                            Palmetto




                                                                                                                                                                                                                                      Total %
                                                                                                                                                                                         Terraces
                         Bayside



                                                Eastern




                                                                                                                                                                                                                             Totals
                                                                                                                                       Palms
                Arbor




                                                          Excel




RUX 0       0   4  23  12    0   11    0    0   0    0   0  84   0   0   0                                                                                                                           41           0  175  1%
RUL 0       0  29  29  19   12    0    0    8   0   21   0   0   0  15   2                                                                                                                            0           0  135  1%
RUC 117 1031 81 456 131 191 271 450 292         0   291 239 622 113 101 68                                                                                                                          113          55 4622 30%
RUB 294 698 218 82 103 950 303 576 444 39 877 186 12 203 66 179                                                                                                                                     195         121 5546 36%
RUA 228 287 129     4  114  68   140   0   101 24   25  121  0  139 94  82                                                                                                                           10         188 1754 11%
Total 716 2186 579 691 712 1534 1291 1293 1150 103 1244 642 766 625 336 332                                                                                                                         421         805 15426
%RU 89% 92% 80% 86% 53% 80% 56% 79% 73% 61% 98% 85% 94% 73% 82% 100%                                                                                                                                85%         45% 79%


                        88.         Southern SNF closely monitored the distribution of its patient days amongst the

         RUG levels on a daily basis as well. Each morning, Gina Shoub, the Eastern Shore admissions

         director, was required to update the census report by 8:30 a.m. and forward it to Yaffa Beller at

         Apex Healthcare, a Southern SNF related company, the precise role of which was never made

         clear to Relators. Beller, or someone on his behalf, would consolidate all the numbers for each

         facility and distribute them within Southern SNF and its facilities, generally by 10:30 a.m. that

         same morning.



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       89.     Southern SNF facilities periodically provided PPS Overage Reports to Southern

SNF management, which management monitored and scrutinized. These reports track the actual

minutes of skilled therapy administered to a patient on a weekly basis and compare them to the

threshold number of minutes required to achieve the RUG level assigned to that patient – Ultra

High (720), Very High (500) and the remaining three levels (to which very few, if any, Medicare

Part A patients were ever assigned). Southern SNF’s goal is for its SNFs to come as close as

possible to that threshold number without going below it. In so during, Southern SNF seeks to

maximize efficiency and profitability by ensuring that it achieves the minutes required for that

RUG level while simultaneously avoiding providing any minutes beyond what it must in order to

get paid. In so doing, however, Defendants are routinely and illegally administering a therapy

regimen designed not on the basis of what is indicated in light of the patient’s diagnosis and

his/her particular physical or cognitive limitations, but on what will generate the most revenue.

       90.     Notably, the percentage of Medicare Part A patient days at Eastern Shore and

more generally at Southern SNF, that Medicare was reimbursing at the Ultra High rate has been

inflated well above current and historical nationwide averages. In the HHS OIG report entitled

“Questionable Billing By Skilled Nursing Facilities” issued in late 2010, OIG noted that from

2006 to 2008, the rate of Ultra High therapy rose from 17% to 28%, even though the patient

population characteristics remained the same. By 2011, the percentage rate of Ultra Highs had

shot up to 44.8% and subsequently to 48.6% by 2012. The rates of Ultra High therapy at Eastern

Shore and chain-wide exceed all these percentages, as demonstrated by the percentage figures for

March 2012.

E.     Southern SNF’s Unlawful Pattern And Practice Of Inflating RUG Levels Has
       Resulted In Serious Patient Harm And Death

       91.     The systematic pattern of prescribing and administering a skilled therapy regimen



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which fails to reflect a particular patient’s needs and at a frequency and for a duration beyond

what the patient’s physical limitations will allow has resulted in numerous instances of patient

harm and in some cases, death. For example, as for the following Eastern Shore Medicare Part A

patients:

                A.    Patient “IR” was treated at the Ultra High level of skilled therapy and

received physical and occupational therapy for the full 100 days of Medicare Part A coverage.

However, his body was too frail to tolerate it. He died two days after being released from the

Center.

                B.    Patient “WL” was brought to the Center with Stage 4 metastatic cancer.

He was assigned 14 days of skilled therapy at the Ultra High level and Very High for seven days.

The therapy was extremely painful for him and he could not tolerate it. After three weeks at

Eastern Shore, he was taken via ambulance to his home. He died en route.

                C.    In January of 2012, occupational therapy was administered on patient “E”.

Relator Dinkins concluded that the patient was too feeble to tolerate the treatment and explained

this to Stabler. In response, Stabler directed that the therapy be continued nevertheless. About

one week later, the patient died, apparently because the strain on his body was simply too great.

                D.    Patient “S” was admitted on or about May 10, 2012 and left on July 3,

2012. He was billed at the Ultra High level during this period but his body could not withstand

the strain it placed on him. He was admitted to the hospital shortly thereafter and died within one

week of leaving Eastern Shore.

          92.   Generally, patients diagnosed with Chronic Obstructive Pulmonary Disease

cannot physically tolerate large amounts of physical or occupational therapy. Stabler instructed

therapists to administer the therapy anyway to this subset of patients, but to give them extra




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breaks. An example of this practice is found with patient “LT”. Likewise, patient “CH” was on

continuous oxygen and was unable to ambulate long distances. Nevertheless, she received over a

month of skilled therapy at the Very High and subsequently the Ultra High level.

       93.     Many patients are either too frail or suffer from other physical limitations that

prevent them from benefitting from the skilled therapy regimens assigned to them. Others suffer

from cognitive deficits such as dementia, which render them incapable of following directions.

By way of example:

               A.     In or around September 2012, one patient, “EC,” was discharged and went

to hospice service at the request of her family due to her distress over, and lack of participation

in, the skilled therapy she was receiving. According to Relator Donald’s own notes, no matter

what the treatment, EC’s “constant refrain” throughout the attempted treatment was, “I’ll give

you $10.00 if you let me go back to bed. I want to go back to my room.” And “Please take me

back now.” EC suffered from dementia and severe pain.

               B.     Patients “OK” and “ET” suffered from severe cognitive deficits but were

nevertheless assigned an Ultra High therapy regimen. Patient ET received 51 days of Ultra High

therapy but showed no functional gains. Patient “DA” received skilled therapy for over three

months but could not follow simple instructions.

F.     How False Statements And False Claims Were Submitted

       94.     Typically, therapists input the therapy time into the system for each patient after

each session. The MDS Coordinator, Nicole Speetjens, then prepared the MDS form. Stabler

signed the completed MDS form which was then submitted to CMS. Relators believe that at all

relevant times a company called Global transmitted the actual requests for payment on Form

CMS 1450 (which reflected and integrated the inflated RUG levels) on behalf of all the Southern




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SNF skilled nursing facilities.

G.     The Departures Of Relators Davis and Dinkins

       95.     The primary reason Megan Dinkins left her employ at Eastern Shore was because

she had become pregnant and was concerned that the stress the job created could harm her child.

The cause of her job stress was the extreme pressure she felt to provide occupational therapy to

every Medicare Part A patient, regardless of whether it was indicated, was reasonable or might

cause patient harm.

       96.     The day after Relator Davis was terminated on February 20, 2013 she sent an

email to Michael Bokor, James Kessler and Sandy Faronda. Therein, she explained the

circumstances surrounding her termination and how she had been retaliated against after Stabler

unsuccessfully directed her to misrepresent the reason for patient WT’s discharge as having been

based upon the patient’s maximum potential having been reached when, in truth, it had not. In

fact, the patient was perceived as a financial burden to the facility and was being discharged for

that reason. Relator Davis expressly requested that the circumstances of her termination be

investigated as well as “other ethical/unethical practices” taking place at Eastern Shore.

Approximately three weeks later she received an email from Moe Mayrant, of Platinum, a

company associated with Southern SNF whose precise role vis-a-vis Southern SNF had never

been made clear to Relators. He said the “Company” would not change its position as to the

termination. The investigation Davis requested of Eastern Shore’s unethical practices was not

undertaken.

       97.     In or around early 2013, Crystal Blackwell, Eastern Shore’s director of nursing

and risk management, received a packet from a Zone Program Integrity Contractor (“ZPIC”)

notifying her of an upcoming investigation of Eastern Shore to detect any possible fraud, waste




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or abuse. ZPICs are private contractors hired and overseen by CMS.

H.     Additional Scienter Allegations: Defendants Knew That They Were Billing
       Medicare And Tricare For Medically Unreasonable, Non-Beneficial And
       Unnecessary Services

       98.     Defendants knew that Medicare and TRICARE only paid for skilled rehabilitative

therapy services that were reasonable and necessary, consistent with the nature and severity of

the patient’s illness or injury, the patient’s particular medical needs, and accepted standards of

medical practices.

       99.     Defendants’ violations of the applicable requirements for Medicare and Tricare

reimbursement were so blatant and widespread that even a general awareness of these

requirements would have put a reasonable person on notice that Defendants were submitting

false claims for payment.

       100.    Since at least September 2008, the provision of medically unnecessary

rehabilitation therapy has been an area of concern identified by the HHS Office of Inspector

General (“HHS-OIG”).

       101.    In September 2008, the HHS-OIG published supplemental guidance to skilled

nursing facilities that identified therapy services and in particular the “improper utilization of

therapy services to inflate the severity of RUG classifications and obtain additional

reimbursement” as a fraud and abuse risk area. OIG Supplemental Compliance Program

Guidance for Nursing Homes, 73 Fed. Reg. 56832, 56840 (Sep. 30, 2008).

       102.    As the HHS-OIG further noted: “Unnecessary therapy services may place frail but

otherwise functioning residents at risk for physical injury, such as muscle fatigue and broken

bones, and may obscure a resident’s true condition, leading to inadequate care plans and

inaccurate RUG classification.” Id.




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       103.    HHS-OIG “strongly advise[d] nursing facilities to develop policies, procedures,

and measures to ensure that residents are receiving medically appropriate therapy services.” Id.

       104.    In November 2012, the HHS-OIG released an analysis of payments to skilled

nursing facilities during 2009 and concluded that 25% of all claims in 2009 were in error. The

majority of these claims in error involved up-coding and “many of these [up-coded] claims were

for ultrahigh therapy.”

                      COUNT I: FALSE OR FRAUDULENT CLAIMS
                               (31 U.S.C. § 3729(a)(1)(A))

       105.    Relators repeat and re-allege paragraphs 1-104 as if fully set forth herein.

       106.    Defendants knowingly presented, or caused to be presented, false or fraudulent

claims for payment or approval in violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(A),

specifically, claims for payment to Medicare and TRICARE for medically unreasonable,

unnecessary and unskilled rehabilitation therapy as reflected in forms CMS-1450.

       107.    Because of Defendants’ acts, the United States sustained damages in an amount to

be determined at trial and therefore is entitled to treble damages under the False Claims Act, plus

civil penalties of not less than $5,500 and up to $11,000 for each violation.

                             COUNT II: FALSE STATEMENTS
                                (31 U.S.C. § 3729(a)(1)(B))

       108.    Relators repeat and re-allege paragraphs 1-104 as if fully set forth herein.

       109.    Defendants knowingly made, used, or caused to be made or used a false record or

statement material to a false or fraudulent claim in violation of the False Claims Act, 31 U.S.C. §

3729(a)(1)(B), including false Minimum Data Sets.

       110.    Because of Defendants’ acts, the United States sustained damages in an amount to

be determined at trial and therefore is entitled to treble damages under the False Claims Act, plus




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civil penalties of not less than $5,500 and up to $11,000 for each violation.

       WHEREFORE, Relators respectfully request that this Honorable Court enter judgment in

their favor and in favor of the United States of America and against Defendants as follows:

       A.      For treble damages and civil penalties of not less than $5,500 nor more than

$11,000 per false claim pursuant to the False Claims Act, 31 U.S.C. §§ 3729, et seq.;

       B.      For pre-judgment interest on all damages awarded;

       C.      For any and all reasonable costs and attorneys’ fees;

       D.      For an award to Relators in the maximum amount permissible pursuant to 31

U.S.C. § 3730(d); and

       E.      For such other and further relief as the Court deems just and equitable.

                                     DEMAND FOR JURY TRIAL

       A jury trial is demanded in this case.


DATED: July 30, 2013                            COHEN MILSTEIN SELLERS & TOLL, PLLC


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